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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA

  v.
                                               Case No. 21-cr-00334-003-TJK
KATHARINE HALLOCK MORRISON aka
KATE,

   Defendant.

 MOTION TO CONTINUE DATE FOR FILING SENTENCING MEMORANDA AND TO VACATE
                    DATE SET FOR SENTENCING HEARING

       The United States of America, by and through its attorney, the United States Attorney for the

District of Columbia, respectfully requests this Court to enter an Order continue the filing of the

parties’ Sentencing Memoranda in this case until a week prior to the anticipated new date for

Sentencing Hearing and to vacate the date set for the currently scheduled Sentencing Hearing. for

the reasons stated below:

1. On February 2, 2022, a federal grand jury returned a superseding indictment charging Morrison

   with Obstruction of an Official Proceeding in violation of 18 U.S.C. § 1512(c)(2), Entering or

   Remaining in any Restricted Building or Grounds in violation of 18 U.S.C. §§ 1752(a)(1),

   Disorderly and Disruptive Conduct in a Restricted Building or Grounds in violation of 18 U.S.C.

   § 1752(a)(2), Disorderly Conduct in a Capitol Building in violation of 40 U.S.C.

   § 5104(e)(2)(D), and Parading Demonstrating, or Picketing in a Capitol Building in violation of

   40 U.S.C. § 5104(e)(2)(G). On October 3, 2022, Morrison pled guilty to Count Three,

   Obstruction of an Official Proceeding in violation of 18 U.S.C. § 1512(c)(2).

2. Sentencing is set for defendant in this case for February 24, 2023, and Sentencing Memoranda

   are due for filing tomorrow, February 17th. Defense counsel has informed the Deputy Clerk for

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      this Court and Government counsel below that it will request a continuance of the Sentencing

      Hearing based upon medical issues with the defendant and defendant’s apparent inability to

      travel, but counsel is awaiting the receipt of a letter from Defendant’s counsel. The parties will

      request the Court to reset the Sentencing Hearing for March 29, 2023, the date set for the other

      two defendants in this case, and for Sentencing memoranda to be filed one week prior, March

      22, 2023.

  3. Defense counsel has not yet filed its Motion to Continue, likely because it has not yet obtained

      the requested documentation from defendant’s physician. Out of an abundance of caution, the

      Government requests the Court to vacate the date set for the February 24, 2023 Sentencing

      Hearing and to enter an Order to reset the filing of the parties’ Sentencing Memoranda for one-

      week before the anticipated newly set Sentencing Hearing – March 22, 2023.

  WHEREFORE, for the reasons set forth above, the Government requests the Court to vacate the date

set for the February 24, 2023 Sentencing Hearing and to enter an Order to reset the filing of the parties’

Sentencing Memoranda for one-week before any newly set Sentencing Hearing, which the parties

anticipated will be March 22, 2023, depending upon the Court’s schedule.

                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES
                                                 United States Attorney
                                                 D.C. Bar No. 481052


                                         By:     /s/ Anthony L. Franks
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